Case 2:10-cv-08888-CJB-JCW Document 85368 Filed 04/20/11 Page 1of3

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aagsi®® oe IN RE: OIL SPILL by “Deepwater Horizon”
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espn en ae DIRECT FILING SHORT FORM’
p wh Wa ws Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982

ont {ozates of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Tritan
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2179 (10 md 2179}.

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| Phone Number ~~
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Aaaress 5 ity / State / Zip

INDIVIDUAL CLAIM

BUSINESS CLAIM

Business Name

Employer Name ~

Job, Title,’ Description

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esol Blanchard

‘City / State / Zip,
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sone Cliy Sie) ae see ine

: Last 4 digits of your Tax IO Number

Attorney Name Firm Name

“Address City / State / Zip

Shoe Number se ata Nai Agarose

No Claim Filed with GCCF?: YES [J NO

Claim filed with BP? YES

If yes, BP Claim No.: 2 | 4 b>

@ase check all that apply):

Damage or destruction to real or personal property
Earnings/Profit Loss
Personal Injury/Death

: If yes, Claimant Identification No.:

ear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

1

The filing of this Direct Filing Short Form shalt also serve in lieu of the requirement of & Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-cv-08888-CJB-JCW Document 85368 Filed 04/20/11 Page 2 of 3

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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/praperty, include the property location, type of property (residential/commercial}, and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and ving sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shail also serve in flew of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-cv-08888-CJB-JCW Document 85368 Filed 04/20/11 Page 3 of 3

mercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.
Seafood processor, distributor, retail and seafood market, of restaurant owner and operator, or an employee thereof.

Cj 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

QO 4, Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

[] 5. — Recreationat sport fishermen, recreational diver, beachgoer, or recreational boater.
CI 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Oo 7 Owner, Jessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

L) &. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
CJ 2. ank, financiat institution, or retail business that suffered losses as a result of the spill.
10. Person who utilizes natural resources for subsistence.

CD 11. Other:

Post-Explosion Personal injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3

CO 1. Boat captain or crew involved in the Vessels of Opportunity program.

C] 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

((] 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-expiosion clean-up activities.

Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

Cha.
os Resident who lives or works in close proximity to coastal waters.

(16. 9 Other:

Both BP and the Gulf Coast Claim s Facility ((GCCF") are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Ado /f

Date

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

